           ORAL ARGUMENT SCHEDULED FOR MARCH 21, 2025
              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

UNITED STEEL, PAPER AND FORESTRY,
RUBBER, MANUFACTURING, ENERGY,
ALLIED INDUSTRIAL AND SERVICE
WORKERS INTERNATIONAL UNION, AFL-CIO,
    Petitioner,                                                   Lead Case No. 24-1151

      v.                                                       Consolidated with Case Nos.
                                                                   24-1182, 24-1185,
 ENVIRONMENTAL PROTECTION                                          24-1202, 24-1237
 AGENCY,
    Respondent.




            INTERVENOR-RESPONDENTS’ OPPOSITION
    TO EPA’S MOTION FOR VOLUNTARY REMAND AND RENEWED
              MOTION TO HOLD CASE IN ABEYANCE

      EPA renews its attempt to avoid judicial review of the fully briefed statutory

questions raised in this case, offering virtually the same justifications as before.

After Loper Bright Enters. v. Raimondo, 603 U.S. 369 (2024), the desires of EPA’s

new political leadership to reverse the agency’s view of what TSCA requires is not

a valid basis for pausing litigation. EPA’s arguments do not establish the

“extraordinary cause” required for continuance of a scheduled argument. D.C. Cir.

R. 34(g). And even on EPA’s terms, the stated reasons for remand and abeyance

are “frivolous” in light of Loper Bright’s standard for reviewing questions of

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statutory interpretation. EPA Mot. for Voluntary Remand and Renewed Mot. to

Hold Case in Abeyance at 6, Doc. 2104767 (“EPA Mot.”) The Court should deny

the motion, just as it did the earlier motion for abeyance.

       1.    After Loper Bright, EPA’s four primary rationales for remanding this

case fail.

       First, EPA says it wants to “revisit its interpretation of the governing statute”

and reconsider the rule “in light of a change . . . in policy priorities and approach to

statutory interpretation.” EPA Mot. at 7.1 Because this case turns on resolving

questions of statutory interpretation, it is the Court’s role (not EPA’s) to determine

the “single, best meaning of a statute.” Loper Bright, 603 U.S. at 400 (cleaned up);

see also id. (“[I]n an agency case as in any other, there is a best reading all the

same—the reading the court would have reached if no agency were involved.”

(cleaned up)).2 Accordingly, after Loper Bright, EPA’s “wish[] to revisit its




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  These are largely indistinguishable from the reasons EPA gave for its first
motion, though EPA has now committed to begin a rulemaking process. Compare
EPA Mot. at 7 with EPA Mot. to Postpone Oral Arg. and Hold Matter in Abeyance
¶ 8, Doc. 2098875.
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  The two principal issues in this case—concerning the conditions of use to be
considered in a risk evaluation and the form of a risk determination—involve pure
legal questions of statutory interpretation. See Intervenor-Respondents’ Opp. to
EPA Mot. to Postpone Oral Arg. and Hold Matter in Abeyance at 5–6, Doc.
2100146 (“Abeyance Opp.”); EPA Mot. at 1 (conceding the challenged rule
“revised certain…statutory interpretations”).
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interpretation of the governing statute” can no longer provide a valid basis for

remanding this matter. Contra EPA Mot. at 7.

      Second, EPA repeatedly and incorrectly suggests that the questions raised in

this case are matters of agency “policy.” EPA Mot. at 4, 6, 7, 8, 9, 10. But as is

clear from the merits briefing, the primary issues raised by the Industry Petitions

implicate questions of statutory interpretation. See Abeyance Opp. at 5–6 (citing

relevant portions of merits briefs); see also EPA Mot. at 9. Under Loper Bright,

courts construe statutes to arrive at the best reading independent of agency “policy

preferences.” 603 U.S. at 403 (Judicial review enables courts to “exercise

judgment free from the influence of the political branches.”).

      Third, a new record would not “benefit” the Court in resolving the statutory

interpretation issues in this case. Contra EPA Mot. at 8. The Court already has the

agency’s existing record before it, and this is not a case where the parties agree that

the existing record is “incorrect or incomplete” and a new record would be helpful.

Contra EPA Mot. at 6 (cleaned up). And adding the findings of EPA’s new

political leadership is pointless because the Court arrives at the best reading using

the “traditional tools of statutory construction,” and the agency’s record of decision

is not one of the traditional tools. Loper Bright, 603 U.S. at 400 (Court arrives at

best reading as “if no agency were involved.”); see Scalia and Garner, Reading


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Law § 2 (explaining that statutory meaning is “derived from the text, not from

extrinsic sources”).

      Fourth, EPA incorrectly argues that the views of its new political leadership,

as expressed in some future action, “may be especially informative” or entitled to

“great weight.” EPA Mot. at 9 (quoting Loper Bright, 603 U.S. at 402, 388).

Allowing EPA’s new political leadership to take another bite at the apple won’t

help the courts resolve the questions presented.

      The statutory questions at issue here do not “rest[] on factual premises” that

may, in other circumstances, make an agency’s view “especially informative.”

Loper Bright, 603 U.S. at 402 (emphasis added) (cleaned up). And to the extent

that EPA’s new leadership has different views on these statutory questions than

those embodied in the challenged rule, those views would not carry the power to

persuade given the agency’s inconsistency. See Loper Bright, 603 U.S. at 388

(weight given to an agency interpretation depends on “its consistency with earlier

and later pronouncements” (quoting Skidmore v. Swift & Co., 323 U.S. 134, 140

(1944))).3




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  Indeed, if EPA were to change position on remand, that would be its third shift in
the past eight years, see Intervenor-Respondents’ Final Br. at 11–12, Doc.
2100828, and this would “count against” its persuasiveness. Landmark Legal
Foundation v. IRS, 267 F.3d 1132, 1137 (D.C. Cir. 2001).
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      2.     Remanding this fully briefed matter would not promote judicial

economy. Contra EPA Mot. at 8. As already explained in Intervenor-Respondents’

opposition to EPA’s prior abeyance motion, the regulated businesses (Industry)

and the regulatory beneficiaries (including Intervenor-Respondents) take

diametrically opposing views of what TSCA requires, and any new action is all-

but-certain to trigger further litigation. See Abeyance Opp. at 6–8. Where, as here,

the Court will face the same legal questions after remand that are already ripe for

resolution, remand would waste the Court’s and the parties’ resources and is

therefore inappropriate. See AT&T Corp. v. FCC, 841 F.3d 1047, 1054 (D.C. Cir.

2016) (explaining that “judicial economy” counsels in favor of addressing

arguments “to avoid re-litigation of identical issues in a subsequent petition”).

      Equitable considerations also favor deciding this case, as a failure to resolve

this fundamental dispute over TSCA’s meaning creates administrative limbo for

the multiple chemicals that are currently being evaluated under the 2024

framework rule. And failing to resolve the interpretive questions currently before

the Court threatens EPA’s ability to timely complete lawful risk evaluations and to

timely issue lawful risk management rules. See Abeyance Opp. at 8.

      3.     Finally, Industry Petitioners suggest that deciding this case would be

tantamount to an advisory opinion, but they fail to demonstrate why EPA’s bare

desire for a remand means there is no live case or controversy over a pending
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challenge to an in-effect rule. Industry Reply in Supp. EPA Mot. ¶ 3, Doc.

2105457. Indeed, EPA asks this Court to hold this case in abeyance, thereby

retaining jurisdiction, EPA Mot. at 13, and Industry Petitioners’ support of that

remedy demonstrates that they do not believe that the Court has lost jurisdiction

over this dispute, see Industry Reply ¶ 4 (supporting request to hold case in

abeyance).

      Moreover, this Court has “rejected the notion that an agency can

stave off judicial review of a challenged rule simply by initiating a new proposed

rulemaking that would amend the rule in a significant way, because if that were

true, a savvy agency could perpetually dodge review.” Sierra Club v. United States

Dep’t of Transportation, 125 F.4th 1170, 1180 (D.C. Cir. 2025) (cleaned up)

(holding a petition for review of a rule was ripe and not moot, despite ongoing

agency rulemaking to modify the rule).

      Therefore, the legal questions before the Court are not “hypothetical or

abstract,” contra Industry Reply ¶ 3, and a decision will “presently affect the

parties’ rights,” Pub. Citizen, Inc. v. FERC, 92 F.4th 1124, 1127 (D.C. Cir. 2024)

(cleaned up). Because the Court continues to have jurisdiction, it should hear and

decide the case. Mata v. Lynch, 576 U.S. 143, 150 (2015).




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                              CONCLUSION

      EPA’s remand motion should be denied, and argument should proceed as

scheduled.



      DATED: March 14, 2025               Respectfully submitted,

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      DATED: March 14, 2025                           s/ Tosh Sagar




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